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                        UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

In re:                                        )
                                              )
DENNIS K. OBDUSKEY,                           )
                                              )       Case No.: 18-18627 JGR
                                              )       Chapter 13
Debtor.                                       )

          DEBTORS RESPONSE TO THE TRUSTEE’S OBJECTION TO EXEMPTION

        COMES NOW the debtor through counsel and provides the following response to the
trustee’s objection to the debtor’s personal injury claim:

                               A. FACTUAL BACKGROUND

         1.   The debtor filed for relief under chapter 13 of the bankruptcy code on October 2,
              2018.

         2.   In his amended Schedule C the debtor lists a certain Supreme Court case known
              as case no. 2017-1307. The value of this claim is unknown. However, the debtor
              described this claim as a claim under the Fair Debt Collection Practices Act. The
              specific issue before the U.S. Supreme Court is whether FDCPA claims are
              applicable in non judicial foreclosure states. Colorado is a non judicial
              foreclosure state and, on this basis, the 10th Circuit in an earlier decision ruled that
              the debtor’s FDCPA claim would not be allowed finding that the FDCPA was not
              applicable to non judicial foreclosure states. This matter is scheduled to be heard
              on oral argument in mid January 2019.

         3.   On December 12, the debtor amended his Schedule C to exempt this claim, not
              only under CRS § 13-54-102(1)(m), but also to exempt the claim under CRS § 13-
              54-102 (1)(n).

         4.   Upon further reflection the debtor believes that the claim in question is more
              appropriately described as a personal injury claim for the reasons set forth below.

                         B. ISSUES FOR THE COURT’S REVIEW

         1.   Whether the debtor’s claim under the FDCPA is properly described as a personal
              injury claim?

                                        C. DISCUSSION

                              I. SUMMARY OF DISCUSSION:
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        The debtor has claimed as exempt the value of the FDCPA claim pursuant to §13-54-
102(1)(n). Pursuant to the plain language of the statute and underlying case law this claim is in
the nature of a personal injury claim and the Court should find it to be fully exempt.


               II. TRUSTEE HAS THE BURDEN OF PROOF IN THIS CASE


        A debtor’s claim of exemption is presumed to be valid. The objecting party–in this case
the trustee–has the burden of producing evidence to rebut that presumption. See In re Robinson,
295 B.R. 147 (B.A.P. 10th Cir. 2003).


                   III. INTERPRETATION OF EXEMPTION STATUTES
       Exemptions serve a salutary purpose. They allow the debtor to preserve for himself and
his family something with which to make a fresh start. See In re Parrish, 19 B.R. 331
(Bankr.D.Co. 1982). The effect of claiming an exemption on the debtor’s schedule C is to
remove that property from the reach of the trustee. See 11 USC §522(b).


        Colorado has opted out of the federal exemptions contained in 11 USC §522(d). This
allows the debtors to claim, as exempt, all property which is exempt under state law and under
federal law other than § 522(d). See CRS § 13-54-107.


        Article XVIII, Section 1 of the Colorado Constitution provides that “The general
assembly shall pass liberal homestead and exemption laws.” This language of the constitution
has typically been interpreted to mean that exemption statutes are to be given a liberal
interpretation in order to promote the law’s beneficent purpose. Thus, as a ruling principle,
property exemptions are to be liberally construed in order to meet the beneficent purpose of the
statute. See In Re Hellman, 474 F.Supp. 348, 350-51 (D.Colo. 1979). See also Sandberg v.
Borstadt, 48 Colo. 96, 109 P. 419 (1910).


        Black’s Law Dictionary (8th Edition) defines liberal construction as: “An interpretation
that applies a writing in light of the situation presented and that tends to effectuate the spirit and
purpose of the writing.”


      The bankruptcy law, including exemptions for property, is based upon sacred Jewish law.
Anciently debts were forgiven in the seventh year out of respect for the Sabbath. See
Deutoronomy, Chapter 15, verses 1-2 which provides:


               At the end of every seven years thou shalt make a release. And this is the manner
               of the release: Every creditor that lendeth ought unto his neighbour shall release it;
               he shall not exact it of his neighbour, or of his brother; because it is called the
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              Lord’s release. [All quotations from the Bible are from the King James Version.]


In like fashion, the bondsman was released in the seventh year and was not sent away by the
master empty handed. In preparation for his release the bondsman was to be furnished from the
master’s stores. Deutoronomy, Chapter 15, verses 12-15 provides:


              And if thy brother, an Hebrew man, or an Hebrew woman, be sold unto thee, and
              serve thee six years; then in the seventh year thou shalt let him go free from thee.
              And when thou sendest him out free from thee, thou shalt not let him go away
              empty: Thou shalt furnish him liberally out of thy flock, and out of thy floor, and
              out of thy winepress: of that wherewith the Lord thy God hath blessed thee thou
              shalt give unto him. And thou shalt remember that thou wast a bondman in the
              land of Egypt, and the Lord thy God redeemed thee: therefore I command thee this
              thing to day.


Even as the bondsman of old, the modern debtor is be furnished liberally and not with a
begrudging attitude.

                                       III. ARGUMENT

       1.     C.R.S. § 13-54-102(1) (n) provides that:

                      (1)    The following property is exempt from levy and sale under writ of
                             attachment or writ of execution:

                             (n)      The proceeds of any claim for damages for personal
                             injuries suffered by any debtor except for obligations incurred for
                             treatment of any kind for such injuries or collection of such
                             damage;

                                        A. RULE 1009

       2.     The trustee may argue that the debtor’s exemption is limited to that which was
              claimed as exempt in the original schedule. The trustee may refer to
              Fed.R.Bankr.P., Rule 1009 (a). However, nothing in the rule precludes the debtor
              amending his schedules at this juncture of the proceeding. By this filing the
              debtor is permitted to correct and to clarify the original filing.

       3.     Nothing in the plain language of the rule precludes the debtors’ filing an
              amendment as was filed.

                             B. VALUE OF THE EXEMPTION
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      4.     The value of the exemption is unlimited. FDCPA claims normally pay the holder
             of the claim $1,000 per claim together with other damages which may be
             awarded. The total value of the claim cannot be determined until the matter is
             resolved by the US Supreme Court and remanded to the District Court for trial.

             C. CASE LAW GOVERNING PERSONAL INJURY CLAIMS

      5.     Two cases have examined the nature of a personal injury claim which are helpful
             to this Court. They are In re Keyworth, 47 B.R. 966 (Bankr.D.Colo. 1985) and
             David v. Sirius Computer Solutions, Inc., 779 F.3d 1209 (10th Cir. 2015).

      6.     In Keyworth, the court examined the debtors’ claim of exemption in connection
             with the wife’s claim for personal injuries sustained relative to a prescription for
             synthetic estrogen she had received. The debtor’s claims were for negligence,
             strict liability, misrepresentation, breach of warranty, wrongful death, exemplary
             damages, and loss of consortium. The court referring to the plain language of the
             statute found that all of the claims constituted personal injury claims, except the
             claims for wrongful death and exemplary damages.

      7.     In David, the 10th Circuit examined whether a personal injury claim allowed the
             debtor to collect interest in the context of a claim for negligent misrepresentation
             where the jury found in favor of the claimant, but found that she had sustained no
             non economic damage. Finding that a claim for personal injuries includes “any
             invasion of a personal right” and further that “a tort which is not an injury to
             property is treated, by definition, as an injury to the person” the court ruled that
             the debtor’s claim would accrue interest as a “personal injury.” David, supra at
             1210 [3].

      19.    Applying this definition, an injury which is not an injury to property, is treated as
             a personal injury, the debtor’s FDCPA claim should be considered fully exempt.

      20.    A form of order granting the claimed exemption is here attached.

             Respectfully submitted this 2nd day of January, 2019.

                                             Law Office of Stephen H. Swift, P.C.

                                             _/s/ Stephen H. Swift____________
                                             Stephen H. Swift, Attorney No. 14766
                                             Attorneys for the Debtor
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                               CERTIFICATE OF SERVICE
      I certify that I served a true and correct copies of the foregoing declaration by mailing a
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copy to each the following on this 2nd day of January, 2019:
VIA E-MAIL TO:
Dennis K. Obduskey
604 Alpine Avenue
Pueblo, CO 81005
VIA ECF TO:
Douglas B. Kiel, Esq.
Chapter 13 Trustee
4725 South Monaco Street
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Denver. CO 80237

Clerk of the US Bankruptcy Court                               [E-filed only]

                                             _/s/ Stephen H. Swift____________
